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                          UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF _____________________
                                       Florida - Middle




In re H2O Investment Properties LLC                    Case No. 2:23-bk-00373-FMD
                                                       Chapter 11

                          (Debtor(s)


                CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate
                                                                    H2O Investment Properties LLC
possible disqualification or recusal, the undersigned counsel for

in the above captioned action, certifies that the following is a (are) corporation(s), other than the

debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the

corporation(s’) equity interests, or states that there are no entities to report under FRBP 7007:


 ✔ None [check if applicable]




04/02/2023                                              /s/ Mike Dal Lago
Date                                                     Statement of attorney or Litigant
